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                                                                                                 FILED
                                                                                            IN OPEN COURT


                                                                                                 -b 2020
                   IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA                             &miUl.S.DiSTRIGTCOUR'
                                                                                        ^L^NDRIA.VIRGINIA
                                        Alexandria Division

UNITED STATES OF AMERICA

                                                         No. l:20-cr-120

APISIT LEWIS,
               Defendant.

                                   STATEMENT OF FArT.<S


        The parties stipulate that the allegations in the Indictment and the following facts are true
and correct, and that had the matter gone to trial the United States would have proven them beyond
a reasonable doubt.


        1.    On or about March 13, 2020, in the Eastern District of Virginia, the defendant,
APISIT LEWIS, knowingly received and possessed firearms, namely, 12 silencers that were
seized attached to firearms and 31 additional complete and incomplete silencers, none of which
were registered to him in the National Firearms Registration and Transfer Record.

       1       From on or about January 29,2020,through on or about February 9,2020, federal
law enforcement officers seized 17 unfinished silencers destined for LEWIS'S residence. The

silencers were contained in four separate packages shipped from China, addressed to LEWIS'S
residence, and manifested as automobile parts.

       3.      On March 13, 2020, Homeland Security Investigations special agents executed a
search warrant on LEWIS'residence in Manassas, Virginia, within the Eastern District ofVirginia.
During the search of the residence, HSI agents seized 43 complete and incomplete suppressors,
none of which bore serial numbers or were otherwise registered in the National Firearms

Registration and Transfer Record. The search also resulted in the seizure of parts for making
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